                  Case 1:21-cr-00310-SDG-LTW Document 11 Filed 07/23/21 Page 1 of 1
AO 470 (Rev. 8/85) Order of Temporary Detention

                                                                                                                            FILED IN CHAMBERS
                                        UNITED STATES DISTRICT COURT
         NORTHERN _ District of _GEOR^yi- Z3<2^1 ,-/
                                                                                                                            U.S. MAQ$ffe(ffECJUDGE
                                                                                                                                    N.D.GEORGIA

          UNITED STATES OF AMERICA ORDER OF TEMPORARY DETENTION
                                         PENDING HEARING PURSUANT TO
                  V. BAIL REFORM ACT



DAWUAN NA'JEE WILLIAMS
                                                                                Case 1:21-MJ-700-RDC
                           Defendant




        Upon motion of the_U. S. GOVERNMENT _, it is ORDERED that a
detention hearing is set July 27. 2021 _* at 11:30 am
                                                       Date                                Time


before. ALAN J. BAVERMAN
                                                                      Name of Judicial Officer

                     U. S. Courthouse 75 Ted Turner Drive Street, S.W., Atlanta, GA 30303
                                                               Location of Judicial Officer


Pending this hearing, the defendant shall be held in custody by (the United States marshal)


                                                                                                                       and produced for the
                                            Other Custodial Official




Date:
                                                                                                                      i^
                                                                                                                 Judicial Officer




*Ifnot held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon motion of the Government, or
up to five days upon motion of the defendant. 18 U.S.C. § 3142(f)(2).
      A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (1) sets forth the grounds that may be
asserted only by the attorney for the Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for the Government
or upon the judicial officer's own motion if there is a serious risk that the defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or
threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.
